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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

April Cosman,                                              Civ. No. 21-674 (PAM/ECW)

                    Plaintiff,

v.                                                                                ORDER

JPMorgan Chase Bank, N.A.,

                    Defendant.


      This matter is before the Court on the parties’ Stipulation of Dismissal with

prejudice. (Docket No. 17.)

      Accordingly, IT IS HEREBY ORDERED that this matter is DISMISSED with

prejudice and with each party to bear its own costs, disbursements, and attorney’s fees.

LET JUDGMENT BE ENTERED ACCORDINGLY.


Dated: Monday, August 30, 2021
                                             s/ Paul A. Magnuson
                                             Paul A. Magnuson
                                             United States District Court Judge
